UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ALFONSO ESCALANTE ROJAS and
FLORENTINO BAUTISTA,
on behalf of themselves, FLSA Collective Plaintiffs,
and the Class,
               Plaintiffs,                             Case No.: 1:22-cv-02083-RA


                                                       RULE 68 JUDGMENT
                      v.

PIZZA PETE’S LLC
      d/b/a PIZZA PETE’S,
PFKM CO LLC
      d/b/a BRAVO PIZZA,
12 APOSTLES LLC
      d/b/a BRAVO PIZZA,
MFKA ENTERPRISES INC
      d/b/a BRAVO PIZZA,
BEK 1 LLC
      d/b/a BRAVO PIZZA,
HASHEM MELECH INC
      d/b/a BRAVO PIZZA,
LFL ENTERPRISES INC
      d/b/a BRAVO PIZZA,
ASFJ ENTERPRISES INC
      d/b/a BRAVO KOSHER PIZZA,
18 PIZZA LLC
      d/b/a BRAVO KOSHER PIZZA,
JASK ENTERPRISES INC.
      d/b/a FRANKIE BOY’S PIZZA,
FRANK LIBRETTA, MICHAEL LIBRETTA,
TANIA FELLUS, and KENNETH FELLUS,
              Defendants.



       WHEREAS, pursuant to Rule 68 of the Federal Rules of Civil Procedure, Defendants

PIZZA PETE’S LLC d/b/a PIZZA PETE’S, PFKM CO LLC d/b/a BRAVO PIZZA, 12

APOSTLES LLC d/b/a BRAVO PIZZA, MFKA ENTERPRISES INC d/b/a BRAVO PIZZA,

BEK 1 LLC d/b/a BRAVO PIZZA, HASHEM MELECH INC d/b/a BRAVO PIZZA, LFL
ENTERPRISES INC d/b/a BRAVO PIZZA, ASFJ ENTERPRISES INC d/b/a BRAVO KOSHER

PIZZA, 18 PIZZA LLC d/b/a BRAVO KOSHER PIZZA, JASK ENTERPRISES INC. d/b/a

FRANKIE BOY’S PIZZA, FRANK LIBRETTA, MICHAEL LIBRETTA, TANIA FELLUS, and

KENNETH FELLUS (collectively, “Defendants”) having offered to allow Plaintiff ALFONSO

ESCALANTE ROJAS (“Plaintiff Rojas”) and Plaintiff FLORENTINO BAUTISTA (“Plaintiff

Bautista”), collectively (“Plaintiffs”) to take a judgment against them, in the sum of Forty-Two

Thousand Dollars and No Cents ($42,000.00), in accordance with the terms and conditions of

Pizza Pete’s Defendants’ Rule 68 Offer dated April 28, 2022 and filed as Exhibit A to Docket

Number 9;

       WHEREAS, on May 12, 2022, Plaintiffs’ attorney having confirmed Plaintiffs’

acceptance of Pizza Pete’s Defendants’ Offer of Judgment (Dkt. No. 9);

       It is ORDERED, ADJUDGED, AND DECREED, that judgment is entered in favor of

Plaintiff ALFONSO ESCALANTE ROJAS and Plaintiff FLORENTINO BAUTISTA, in the sum

of Forty-Two Thousand Dollars and No Cents ($42,000.00), in accordance with the terms and

conditions of Pizza Pete’s Defendants’ Rule 68 Offer dated April 28, 2022 and filed as Exhibit A

to Docket Number 9.



SO ORDERED:

Dated: May 17, 2022                                ___________________________________
       New York, New York                          Ronnie Abrams
                                                   United States District Judge
